          Case: 4:20-cr-00269-RWS-SPM Doc. #: 1 Filed: 06/02/20 Page: 1 of 1 PageID #: 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                               EASTERN DISTRICT OF MISSOURI

                    United States of America                       )
                               V.                                  )
                                                                   )        Case No. 4:20 MJ 6127 PLC
                      DEVANTE COFFIE
                                                                   )        SIGNED AND SUBMITIED TO THE
                                                                   )        COURT FOR FILING BY RELIABLE
                                                                   )        ELECTRONIC MEANS.
                                                                   )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date( s) of              Mav 31. 2020                in the county of     St. Louis                            in the
        Eastern                       _ Mi_ s s_ o_un_· ___ , the defendant(s) violated:
                        District of _ _

             Code Section                                                     Offense Description

        18:922(u)                                                      Theft of firearms from a federal firearms licensee




           This criminal complaint is based on these facts:
                                                      SEE ATTACHED AFFIDAVIT




                                                              I state under the penalty of perjury the forgoing is true and correct.
          elf Continued on the attached sheet.




                                                                                         Special Agent Eric Shelvy, ATF
                                                                                               Printed name and title
            Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to Federal Rules of
            Criminal Procedure 4.1 and 41,


Date:             06/02/2020                                                Patricia L. Cohen
                                                                                                 Judge's signature

City and state:                         St. Louis. Missouri                Ho no rable Patricia L. Cohen , U.S. Magistrate Judge
                                                                                               Printed name and title
